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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 DUPUY STORAGE & FORWARDING                                   CIVIL ACTION
 LLC,
      Plaintiff

 VERSUS                                                       NO. 22-4546

 INDIAN HARBOR INSURANCE                                      SECTION: “E” (2)
 COMPANY, ET AL.,
      Defendant


                                     ORDER

        Considering the foregoing Unopposed Motion to Compel Arbitration and Stay

Proceedings;1

        IT IS ORDERED that the Motion is GRANTED.

        IT IS FURTHER ORDERED that this case be ADMINISTRATIVELY

CLOSED. Any party may seek to reopen this matter, if necessary, by filing a written

motion.

        New Orleans, Louisiana, this 5th day of January, 2023.


                                      _______ _____________ __________
                                               SUSIE MORGAN
                                        UNITED STATES DISTRICT JUDGE




1 R. Doc. 15.
